     Case 1:21-cv-05807-LAK-VF            Document 281         Filed 01/24/25      Page 1 of 3




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK



  IN RE DIDI GLOBAL INC. SECURITIES Master Docket 1:21-cv-05807-LAK
  LITIGATION
                                                      This Document Relates To: All Actions



 STIPULATION AND [PROPOSED] ORDER EXTENDING DEFENDANTS’ TIME TO
      RESPOND TO PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION

        WHEREAS, on January 6, 2025, Plaintiffs filed a Motion for Class Certification (ECF No.

261; the “Motion”);

        WHEREAS, Defendants’ responses to the Motion are due no later than February 5, 2025;

        WHEREAS, to accommodate the scheduling of depositions, the parties have met and

conferred and agreed to extend Defendants’ time to file responses to the Motion until March 7,

2025, and Plaintiffs’ time to file their reply in further support of the Motion until April 9, 2025;

        WHEREAS, no prior requests for similar extensions to Defendants’ deadline to respond to

the Motion nor Plaintiffs’ deadline to file a reply in further support of the Motion have been

previously made;

        WHEREAS, all parties consent to this extension.

        NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED, subject to the

Court’s approval, that Defendants shall file their responses to the Motion no later than March 7,

2025, and Plaintiffs shall file their reply in further support of their Motion no later than April 9,

2025.




                                                  1
   Case 1:21-cv-05807-LAK-VF           Document 281     Filed 01/24/25      Page 2 of 3




Respectfully submitted,                         Dated: January 24, 2025

  /s/ Corey Worcester                            /s/ Laurence Rosen
Corey Worcester                                 Phillip Kim
Renita Sharma                                   Laurence Rosen
Quinn Emanuel Urquhart & Sullivan, LLP          The Rosen Law Firm, P.A.
295 5th Avenue                                  275 Madison Avenue, 40th Floor
New York, New York 10016                        New York, New York 10016
Tel: (212) 849-7000                             Tel: (212) 686-1060
Fax: (212) 849-7100                             Fax: (212) 202-3827
coreyworcester@quinnemanuel.com                 pkim@rosenlegal.com
renitasharma@quinnemanuel.com                   lrosen@rosenlegal.com

Counsel for Defendants DiDi Global Inc.,        Lead Counsel for Lead Plaintiff and the Class
Will Wei Cheng, Jean Qing Liu, Stephen
Jingshi Zhu, Alan Yue Zhuo, and Adrian
Perica                                           /s/ Jonathan Rosenberg
                                                Jonathan Rosenberg
Scott Musoff                                    Abby F. Rudzin
Robert Fumerton                                 O’MELVENY & MYERS LLP
Michael Griffin                                 7 Times Square
Skadden, Arps, Slate, Meagher & Flom LLP        New York, NY 10036
One Manhattan West                              Tel: (212) 326-2000
New York, New York 10001                        jrosenberg@omm.com
Tel: (212) 735-3902                             arudzin@omm.com
Fax: (212) 777-3902
smusoff@skadden.com                             Counsel for Defendants Goldman Sachs
robert.fumerton@skadden.com                     (Asia) L.L.C.; Morgan Stanley & Co. LLC;
michael.griffin@skadden.com                     J.P. Morgan Securities LLC; BofA Securities,
                                                Inc.; Barclays Capital Inc.; Citigroup Global
Counsel for Defendant DiDi Global Inc.          Markets Inc.; HSBC Securities (USA) Inc.;
                                                UBS Securities LLC; Mizuho Securities USA
 /s/ Jeffrey T. Scott                           LLC; and China Renaissance Securities
Jeffrey T. Scott                                (US) Inc.
Emily R. Grasso
Sullivan & Cromwell LLP                          /s/ Sheryl Shapiro Bassin
125 Broad Street                                Sheryl Shapiro Bassin
New York, New York 10004-2498                   WILSON SONSINI GOODRICH &
Tel: (212) 558-3082                             ROSATI, P.C.
Fax: (212) 291-9138                             1301 Avenue of the Americas, 40th Floor
scottj@sullcrom.com                             New York, New York 10019
grassoe@sullcrom.com                            Tel: (212) 999-5800
                                                Fax: (866) 974-7329
Counsel for Defendant Kentaro Matsui            sbassin@wsgr.com

                                                Ignacio E. Salceda (admitted pro hac vice)



                                            2
   Case 1:21-cv-05807-LAK-VF           Document 281       Filed 01/24/25     Page 3 of 3




 /s/ Matthew S. Kahn                              WILSON SONSINI GOODRICH &
 Matthew S. Kahn                                  ROSATI, P.C.
 One Embarcadero Center                           650 Page Mill Road
 Suite 2600                                       Palo Alto, California 94304
 San Francisco, California 94111                  Tel: (650) 493-9300
 Telephone: (415) 393-8200                        Fax: (866) 974-7329
 Facsimile: (415) 393-8306                        ISalceda@wsgr.com
 mkahn@gibsondunn.com
                                                  Counsel for Defendant Zhiyi Chen
 Michael D. Celio (admitted pro hac vice)
 Kevin J. White                                   /s/ Stephen P. Blake
 310 University Avenue                            Stephen P. Blake
 Palo Alto, California 94301                      Bo Bryan Jin
 Telephone: (650) 849-5300                        SIMPSON THACHER & BARTLETT LLP
 Facsimile:     (650) 949-5333                    2475 Hanover Street
 mcelio@gibsondunn.com                            Palo Alto, CA 94304
 kwhite@gibsondunn.com                            Telephone: (650) 251-5000
                                                  Facsimile: (650) 251-5002
 Counsel for Defendant Martin Chi Ping Lau        sblake@stblaw.com
                                                  bryan.jin@stblaw.com

                                                  Counsel for Defendant Daniel Yong Zhang




SO ORDERED.


DATED:
                                            Hon. Lewis A. Kaplan, U.S. District Judge




                                              3
